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                                                                                   U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF NEW YORK
                                                                                   BROOKLYN OFFICE
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------x
   ROBERT BARTLETT, et al.,

                              Plaintiffs,                        NOT FOR PUBLICATION
                                                                 MEMORANDUM & ORDER
            -against-                                            19-CV-00007 (CBA) (VMS)

   SOCIÉTÉ GÉNÉRALE DE BANQUE AU
   LIBAN SAL, et al.,

                              Defendants.
   ------------------------------------------------------x
  AMON, United States District Judge:

          Plaintiffs, a group of 1,278 American citizens killed or injured by terrorist attacks abroad,

  and/or their families, filed this action against 12 banking institutions—Société Générale de Banque

  Au Liban SAL (“SGBL”), Fransabank SAL, MEAB Bank SAL, Blom Bank SAL, Byblos Bank

  SAL, Bank Audi SAL, Bank of Beirut SAL, Lebanon and Gulf Bank SAL, Banque Libano-

  Française SAL, Bank of Beirut and the Arab Countries SAL, Jammal Trust Bank SAL (“JTB”),

  and Fenicia Bank—as well as John Does 1–50, seeking damages pursuant to the Anti-Terrorism

  Act (“ATA”), 18 U.S.C. § 2333 as amended by the Justice Against Sponsors of Terrorism Act

  (“JASTA”), Pub. L. No. 114-222, 130 Stat. 852 (2016). Defendants move to dismiss pursuant to

  Federal Rules of Civil Procedure 12(b)(2), for lack of personal jurisdiction, and 12(b)(6), for

  failure to state a claim.

          Plaintiffs have called this “the most comprehensive civil ATA complaint ever filed against

  any bank since the law’s 1992 enactment.” (ECF Docket Entry (“D.E.”) # 142 (“Opp’n”) at 1.)

  Indeed, the Amended Complaint is mind-numbing in its length: reading largely like a treatise on

  Hezbollah and the Lebanese economic system, its 5,695 paragraphs span nearly 788 pages. It is



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  questionable whether this filing meets Federal Rule of Civil Procedure 8’s requirement that a

  complaint include a “short and plain statement of the claim.”          Nonetheless, having spent

  considerable time parsing the complaint, I conclude that Plaintiffs’ strongest allegations state a

  claim for aiding-and-abetting liability under JASTA. I will not dismiss it in its entirety. For the

  reasons stated below, the motions to dismiss are GRANTED in part and DENIED in part.

                                        Summary of Complaint

         The following facts are taken from Plaintiffs’ amended complaint (D.E. # 105 (“Am.

  Compl.” or the “Amended Complaint”)), and are assumed true for purposes of this motion.

         Plaintiffs or their family members were injured in a series of terror attacks (the “Attacks”)

  perpetrated by Hezbollah in Iraq between 2004 and 2011. (Am. Compl. ¶ 1.) Defendants are

  Lebanese commercial banks that Plaintiffs allege provided financial services to Hezbollah and

  Hezbollah affiliates. (Id. ¶ 5.) Hezbollah is an entity dedicated to religiously inspired terrorism,

  and in 1997 was designated by the United States as a Foreign Terrorist Organization (“FTO”). (Id.

  ¶¶ 1 n.1, 354.) Plaintiffs allege that Defendants knowingly provided Hezbollah with financial

  services, including access to the U.S. financial system through correspondent bank accounts in

  New York, and facilitated Hezbollah’s terrorist attacks by enabling the organization’s operational

  funding. (Id. ¶¶ 11.)

         I.      Hezbollah’s Fundraising and Recruitment Operations

         Hezbollah operates a commercial apparatus known as the Business Affairs Component

  (“BAC”), which raises funds for Hezbollah via money laundering and drug trafficking, as well as

  via ordinary business enterprises. (Id. ¶ 610.) Much of the money that Hezbollah makes through

  such commercial activity comes from certain well-known crime networks or “clans” known to be

  affiliated with Hezbollah. (See, e.g., id. ¶¶ 856–868.) Those networks launder their funds through



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  Lebanese “exchange houses,” which facilitate international transfers of large cash deposits through

  Defendants’ accounts in New York while simultaneously funneling money to Hezbollah (including

  for Hezbollah’s use abroad in Iraq). (Id. ¶¶ 1084, 1087, 1097–98.) Ovlas Trading SA, which deals

  in general trading and food manufacturing, was designated a Specially Designated Global Terrorist

  (“SDGT”) by the U.S. Department of the Treasury on December 9, 2010. (Id. ¶ 691.) The

  company is owned by Kassim Tajideen—allegedly an important financial contributor to Hezbollah

  who was himself designated as an SDGT on May 27, 2009 and imprisoned by the United States in

  2018 after pleading guilty to various U.S. Office of Foreign Assets Control violations. (Id. ¶¶

  689–691.)

         Hezbollah also fundraises and recruits through umbrella organizations such as the Islamic

  Resistance Support Organization (“IRSO”) and the Martyrs Foundation–Lebanon. (Id. ¶¶ 400,

  467.) Hezbollah publicizes account numbers where members of the public can donate to support

  Hezbollah’s terrorist activities, including from outside Lebanon. (E.g., id. ¶ 421.) IRSO was

  designated an SDGT by the U.S. Department of the Treasury on August 29, 2006, and it openly

  solicits, collects and disperses donations in support of Hezbollah’s terrorist activities. (Id. ¶¶ 400–

  421.) The money IRSO collects is earmarked primarily for the purchase of weapons for Hezbollah

  terrorist-operations and support for its cadres. (Id. ¶ 402.) Donors to IRSO can earmark funds

  toward terrorist attacks, including for the acquisition of missiles and ammunition. (Id. ¶ 417; D.E.

  # 105-1, Exhibit 2.) The Martyrs Foundation–Lebanon was designated an SDGT on July 24, 2007

  and channels financial support from Iran to several terrorist organizations in the Levant, including

  Hezbollah. (Id. ¶¶ 489–491.) The Martyrs Foundation-Lebanon also provides financial support

  to the families of killed or imprisoned Hezbollah members. (Id. ¶ 491.) The Imam Khomeini

  Relief Committee – Lebanon (the “IKRC”) was designated an SDGT by the United States on



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  August 3, 2010. (Id. ¶ 579.) The IKRC funds and operates Hezbollah youth training camps, which

  are used to recruit future Hezbollah members and operatives. (Id. ¶ 580.)

         II.     Defendants’ Financial Services

         Plaintiffs allege that each Defendant knowingly maintained accounts for and provided vital

  financial services to Hezbollah and Hezbollah-affiliated entities, enabling Hezbollah to access

  millions of dollars which ultimately enabled the Attacks that injured Plaintiffs. Among other

  financial services, Defendant banks used New York correspondent accounts to “clear” U.S. dollar-

  denominated transactions on Hezbollah’s behalf. (E.g., id. ¶ 142.) “Correspondent accounts”

  enable financial institutions to access financial services in different jurisdictions and provide

  international payment services for their customers. (Id. ¶ 61 n.9.) “Clearing” is the process of

  transmitting, reconciling, and, in some cases, confirming dollar-denominated electronic funds

  transfer transactions prior to settlement. (Id. ¶ 142 n.21.) Each Defendant maintained at least three

  New York correspondent accounts, which the Amended Complaint identifies by specific account

  number. (See id. ¶¶ 132, 155, 174, 191, 204, 219, 231, 242, 256, 270, 285, 300.)

         The alleged link between Defendants and Hezbollah comes through certain Hezbollah-

  affiliated customers (the “Bank Customers”). (E.g., id. ¶¶ 8, 529, 532, 535.) The Bank Customers

  include individuals and businesses involved in the BAC, as well as other Hezbollah entities such

  as IRSO. (E.g., id. ¶¶ 8, 105.) Each Defendant except for Bank of Beirut is alleged to have

  maintained accounts for and provided financial services to organizations designated during the

  relevant timespan as Hezbollah-affiliated SDGTs:

   Defendant Bank            SDGT Bank Customer(s)
   SGBL                      Martyrs Foundation – Lebanon (Id. ¶ 5690)
                             Yousser Company for Finance and Investment (Id. ¶ 5690)
                             Hussein al-Shami (Id. ¶ 5690)


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   Fransabank                IRSO (Id. ¶ 8)
                             Martyrs Foundation– Lebanon (Id. ¶ 1494)
   MEAB Bank                 IKRC (Id. ¶ 1566)
   Blom Bank                 Ovlas Trading SA (Id. ¶ 691)
   Byblos Bank               IRSO (Id. ¶ 8)
   Bank Audi                 Ovlas Trading SA (Id. ¶ 691)
   Lebanon and Gulf          IRSO (Id. ¶ 8)
   Bank                      Ovlas Trading SA (Id. ¶ 691)
   Banque Libano-            IRSO (Id. ¶ 8)
   Française                 Martyrs Foundation – Lebanon (Id. ¶ 1697)
                             Ovlas Trading SA (Id. ¶ 691)
   Bank of Beirut and the    Martyrs Foundation – Lebanon (Id. ¶ 1772)
   Arab Countries            Ovlas Trading SA (Id. ¶ 691)
   Fenicia Bank              Kassem Tajideen (Id. ¶ 1818)
   Jammal Trust Bank         IRSO (Id. ¶ 8)


         Defendants each maintained policies and programs during the relevant period to detect

  illegal account activity and account holders. For example, Fransabank’s Vice President stated in

  2006 that the bank had “a monitoring program for suspicious or unusual activity” and developed

  a “risk assessment of its customers.” (Id. ¶ 151.) And MEAB Bank maintained a counter-

  financing of terrorism program which involved screening its banking activity using a state-of-the-

  art system. (Id. ¶ 173; see also id. ¶¶ 131, 151, 189, 203, 216, 230, 240, 252, 267, 282, 298.)

         In addition to certain Bank Customers’ SDGT designations, other reporting and events

  publicly connected the Bank Customers to Hezbollah. A 1986 newspaper advertised that an

  account at Defendant Jammal Trust Bank was owned by IRSO. (Id. ¶ 420.) The offices of

  Defendants Fransabank and MEAB Bank were targeted and bombed by Israeli jets in 2006 due to

  their known connection to Hezbollah. (Id. ¶¶ 1499, 1563.) A 2006 television news report showed

  that Hezbollah was publicly soliciting donations to an account at Banque Libano-Française. (Id.

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  ¶ 421.) In 2009, Bank Audi was served by U.S. law enforcement with a seizure warrant on Bank

  Audi’s correspondent account, seeking to freeze the account of a customer who had been indicted

  for providing material support to Hezbollah. (Id. ¶ 1183.)

          Plaintiffs further allege that Defendant SGBL is liable for certain actions of Lebanese

  Canadian Bank (“LCB”). (Id. ¶¶ 1326–1486.) LCB allegedly maintained bank accounts for

  Hezbollah institutions and officials, participated in Hezbollah’s trade-based money laundering

  operations, and disregarded anti-money laundering rules on Hezbollah’s behalf. (Id. ¶ 1329.) In

  2011 the U.S. Department of the Treasury found that LCB was a “financial institution of primary

  money laundering concern.” (Id. ¶¶ 1337.) In June 2011, SGBL acquired LCB’s assets and

  liabilities. (Id. ¶ 1450.) Certain LCB accounts held by individuals and entities associated with

  Hezbollah—including some that had been designated SDGTs—migrated to Defendant banks. (Id.

  ¶¶ 103–105.)

          Plaintiffs also allege certain Hezbollah-connected activity which postdates the Attacks.

  The alleged co-founder of Defendant MEAB bank, Kassem Hejeij, was forced to step down from

  his role as Chairman in June 2015 when he was designated an SDGT. (Id. ¶ 167.) Certain Bank

  Customers were designated SDGTs after the Attacks. (E.g., id. ¶ 624.) Defendant JTB was itself

  designated as an SDGT in 2019 due to its “deep coordination” with Hezbollah “which dates back

  to at least the mid-2000s.” (See Opp’n at 2–3; D.E. # 142-2.) 1

          III.     Hezbollah’s Terror Attacks

          The Amended Complaint details four mechanisms by which Hezbollah committed,



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              The parties dispute whether this post-complaint material may be considered on a motion to dismiss. (See
  Oral Arg. Tr. at 36:11–38:10.) At oral argument, Plaintiffs’ counsel conceded that Plaintiffs’ case against JTB is no
  stronger than against any other defendant, even considering these Treasury statements. (See id. at 32:11–22 (stating
  that “the allegations are equal against all defendants.”).) Given the volume of allegations and the relative
  insignificance of JTB’s designation given its occurring years after the Attacks, my conclusions in this opinion would
  be the same whether or not this fact is considered.

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  planned, or authorized the Attacks: “(1) establishing and organizing its proxy groups in Iraq; (2)

  designing EFPs [Explosively Formed Penetrators, an anti-armor weapon] and other weapons

  deployed by those proxies; (3) training its Iraqi proxies in tactics, techniques, and procedures . . .;

  and (4) overseeing, approving, and directing Special Groups attacks on U.S. service members and

  other American nationals.” (Opp’n at 33.)

         More particularly, Hezbollah was directly involved in providing training and support to

  Jaysh al-Mahdi (“JAM”), an Iraqi militia, from its inception in 2003. (Am. Compl. ¶¶ 1862–1878.)

  Hezbollah also provided training programs to teach Iraqi militants to construct and use EFPs,

  enabling trainees to teach other militants what they had learned. (Id. ¶¶ 1941, 1946–1947.)

  Hezbollah provided training for other types of weaponry as well. (Id. ¶¶ 1930–1935, 1940, 2021.)

         When JAM proved to be ineffective, Hezbollah helped create and train “Special Groups.”

  (Id. ¶¶ 1904–1918.) Plaintiffs quote reports indicating high levels of Hezbollah oversight and

  involvement in those proxy groups’ activities:

                 Documents seized [during a raid on Hezbollah commander and so-
                 called “designer of the Special Groups” Ali Mussa Daqduq] include:
                 spreadsheets detailing weapons and targets, step-by-step
                 instructions for operations/attacks; and numerous letters equivalent
                 to after-action reports detailing attacks, including, for example; an
                 ambush and IED attack on a MNF convoy in Karbala resulting in 4
                 X MNF KIA; an IED attack on a British patrol which destroyed two
                 Land Rovers and killed the occupants; and a sniper attack on a
                 British patrol which killed a British soldier.

  (Id. ¶¶ 1952–1955.)

         Plaintiffs also detail the Hezbollah connections to the Attacks themselves. For example,

  “the weapon used to injure [one Plaintiff] was a Hezbollah-designed and Iranian-manufactured

  EFP emplaced by agents of Hezbollah and the IRGC-QF at their direction, using specialized

  training and components supplied by Hezbollah and the IRGC.” (Id. ¶ 2050.) In another attack,



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  “the terror cell that emplaced the [weapon] . . . was trained by Hezbollah.” (Id. ¶¶ 2087–2089.)

                                        STANDARD OF REVIEW

          Federal Rule of Civil Procedure 12(b)(2) provides for dismissal of a complaint for “lack of

  personal jurisdiction[.]” The plaintiff has the burden of demonstrating personal jurisdiction.

  Troma Entm’t, Inc. v. Centennial Pictures Inc., 729 F.3d 215, 217 (2d Cir. 2013). “[W]hen the

  issue is decided initially on the pleadings and without discovery, the plaintiff need show only

  a prima facie case” of personal jurisdiction.      Volkswagenwerk Aktiengesellschaft v. Beech

  Aircraft Corp., 751 F.2d 117, 120 (2d Cir. 1984). In deciding whether the plaintiff has made such

  a showing, the pleadings must be viewed in the light most favorable to the plaintiff, with all doubts

  resolved in its favor. See DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84 (2d Cir. 2001).

          Federal Rule of Civil Procedure 12(b)(6) provides for dismissal of a complaint that “fail[s]

  to state a claim upon which relief can be granted[.]” A complaint will be dismissed unless the

  plaintiff states a claim that is “plausible on its face” by alleging sufficient facts for “the court to

  draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

  A court must dismiss a claim if the “well-pleaded facts do not permit the court to infer more than

  the mere possibility of misconduct . . . .” Iqbal, 556 U.S. at 679. Although courts will not credit

  “conclusory statements” or “[t]hreadbare recitals of the elements of a cause of action,” id. at 678,

  the court must accept as true all material factual allegations and draw all reasonable inferences in

  the plaintiff’s favor. Johnson v. Priceline.com, Inc., 711 F.3d 271, 275 (2d Cir. 2013).

                                             DISCUSSION

     I.      Personal Jurisdiction

          Defendants argue that the Court lacks personal jurisdiction over Defendants for all claims.



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  I first address personal jurisdiction with respect to Claims I-III. Personal jurisdiction for Claim IV

  is discussed infra, in Part IV.

          A. Standard

          A court’s exercise of personal jurisdiction must satisfy the long-arm statute of the forum

  state and constitutional requirements of due process. Licci v. Lebanese Canadian Bank, SAL, 732

  F.3d 161, 168 (2d Cir. 2013). New York’s C.P.L.R. § 302(a)(1) confers personal jurisdiction when

  two requirements are met: “(1) The defendant must have transacted business within the state; and

  (2) the claim asserted must arise from that business activity.” Solé Resort, S.A. de C.V. v. Allure

  Resorts Mgmt., LLC, 450 F.3d 100, 103 (2d Cir. 2006).

          The Second Circuit addressed personal jurisdiction under the ATA in Licci, 732 F.3d at

  161. The defendant in that case was “a Lebanese bank with no operations, branches, or employees

  in the United States.” Id. at 165. The bank had allegedly “executed wire transfers using its

  correspondent account in New York, for an account held by . . . a ‘financial arm’ of Hizbollah. Id.

  at 166. The first prong of New York’s statute—that the defendant transacted business in the

  state—was satisfied due to “the frequency and deliberate nature of [the defendant’s] use of its

  correspondent account.” Id. at 168. The second prong—that the claim arose from the New York

  business activity—was also satisfied. That is because the transactions demonstrated “a relatedness

  between the transaction and the legal claim such that the latter is not completely unmoored from

  the former.’” Id. at 168–69 (quoting Licci v. Lebanese Canadian Bank, SAL, 20 N.Y.3d 327, 339

  (2012)). This “not completely unmoored” standard “does not require a causal link between the

  defendant’s New York business activity and a plaintiff’s injury.” Id. at 168; Strauss v. Crédit

  Lyonnais, S.A., 175 F.Supp.3d 3, 24–25 (E.D.N.Y. 2016) (“There is no requirement under §

  302(a)(1) that a plaintiff's claim must arise exclusively from New York conduct.”) (emphasis in



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   original).

           Exercising personal jurisdiction must also satisfy constitutional due process, under which

   “the defendant’s suit-related conduct must create a substantial connection with the forum State.”

   Walden v. Fiore, 571 U.S. 277, 284 (2014). In Licci, constitutional due process was satisfied by

   the bank’s “repeated, intentional execution of U.S.-dollar-denominated wire transfers” in “a

   lawsuit seeking redress for the allegedly unlawful provision of banking services of which the wire

   transfers are a part.” 732 F.3d at 171. Since Licci, there have been a series of terrorism-financing

   cases in the Second Circuit concluding that jurisdiction lies over banks that executed funds

   transfers in New York, either through their New York branch or a correspondent account they

   maintained in their own name. See, e.g., Averbach v. Cairo Amman Bank, No. 19-cv-4, 2020 WL

   486860, at *4–9 (S.D.N.Y. Jan. 21, 2020), report and recommendation adopted at 2020 WL

   1130733 (S.D.N.Y. Mar. 9, 2020); Miller v. Arab Bank PLC, 372 F.Supp.3d 33, 43–44 (E.D.N.Y.

   2019); Nike, Inc. v. Wu, 349 F. Supp. 3d 346 (S.D.N.Y. 2018); Weiss v. Nat’l Westminster Bank

   PLC, 176 F. Supp. 3d 264, 285–86 (E.D.N.Y. 2016), appeal docketed, No. 19-863 (2d Cir. argued

   May 14, 2020).

           B. Application

           1. State Law

           The first requirement of New York’s long-arm statute, N.Y. C.P.L.R. § 302(a)(1), is that

   the defendant transacted business in the state.      Plaintiffs have identified each Defendant’s

   correspondent bank account numbers in New York and allege that Defendants transferred millions

   of dollars on Hezbollah’s behalf through those accounts. (See, e.g., Am Compl. ¶¶ 120, 178).

   Although such allegations on their own are somewhat general, Plaintiffs have identified numerous

   specific transactions through the New York bank accounts involving multiple alleged Bank



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   Customers; these transactions number in the dozens 2 and total millions of dollars. (See id. ¶¶ 868,

   1132, 1151, 1576–77.) Such a volume of transactions—both the number and aggregate dollar-

   value—are sufficient to show that Defendants deliberately availed themselves of New York

   through the use of these correspondent accounts. Licci, 732 F.3d at 165 (recognizing jurisdiction

   for “dozens” of transactions); Averbach, 2020 WL 486860 at *5 (same, for twenty-three

   transactions); Indosuez Int’l Fin. B.V. v. Nat’l Rsrv. Bank, 98 N.Y.2d 238, 246 (2002) (six

   transactions).      For example, Plaintiffs have identified numerous transactions through the

   correspondent accounts by Nazim Ahmad’s Rilton Traders and Primogems, and Lebanese

   exchange houses. (E.g., Am. Compl. ¶¶ 925, 1029, 1043, 1551, 1576–78). Nazim Ahmad is

   allegedly a key Hezbollah BAC facilitator and member of the Ahmad clan, whose connection to

   Hezbollah was publicized in a 2002 United Nations report. (See Am. Compl. ¶¶ 812–816, 862,

   868.). Those transactions were allegedly carried out on behalf of Hezbollah, with the funds going

   to support the terrorist attacks in Iraq that injured Plaintiffs. (E.g., id. ¶¶ 1087, 1576–77.) As in

   Licci, such repeated transfers that “totaled several million dollars” evidence “purposeful availment

   of the privilege of doing business in the New York forum.” 732 F.3d at 168, 171 (internal

   quotation marks omitted).

            Many of the allegations concern funds received by (rather than sent by) Defendant banks,

   and Defendants argue that the “transmission of funds to Alleged Bank Customers” cannot support

   personal jurisdiction because such transfers are only the “unilateral activity of another party.”

   (D.E. # 139-1 (“Omnibus Supp.”) at 15–16 (emphasis in original).) Although the Second Circuit




            2
              Plaintiffs have identified dozens of specific transfers, although the number varies between individual
   defendants, with at least one for each Defendant (and many more for most Defendants). In any event, “[a] single
   transaction is sufficient to satisfy this requirement, provided the relevant claims arise from that transaction. Miller,
   372 F. Supp. 3d at 42 (citing Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 171 F.3d 779, 787 (2d Cir.
   1999)).

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   has suggested that the “mere maintenance” of a correspondent account would not create personal

   jurisdiction, it drew no distinction between transactions that originate with the defendant and those

   which originate elsewhere. Licci, 732 F.3d at 171. What matters is “the frequency and deliberate

   nature” of [the bank’s] use of its correspondent account.” Id. at 168. Defendants do not contend

   that they accepted these transfers “once or twice by mistake,” 3 see Licci, 732 F.3d at 168, or

   refused to accept such transfers at all, see Official Comm. of Unsecured Creditors of Arcapita v.

   Bahrain Islamic Bank, 549 B.R. 56, 65 (S.D.N.Y. 2016). Defendants’ distinction between

   transfers sent and transfers received finds no support in the case-law. See Averbach, 2020 WL

   486860, at *7 (“When a foreign bank repeatedly approves deposits and the movement of funds

   through a correspondent account, it is transacting business; that the foreign bank did not initiate

   the transaction does not change the analysis.”).

           The second requirement under N.Y. C.P.L.R. § 302(a)(1) is that there be “a relatedness

   between the transaction and the legal claim such that the latter is not completely unmoored from

   the former.” Licci, 20 N.Y.3d at 341. There is no requirement, as Defendants contend, that the

   New York transactions were earmarked for the specific Attacks in which Plaintiffs were injured.

   In addition to the transactions already described, Defendant MEAB Bank is alleged to have moved

   millions of dollars through its correspondent bank accounts—“knowing that it was . . . laundering

   narcotics trafficking proceeds on behalf of Hezbollah’s BAC.” (Am Compl. ¶ 1576–77.) Given

   that Hezbollah is singularly “dedicated to religiously inspired terrorism,” (id. ¶ 354), these

   averments “properly allege[] that the aid provided to [Hezbollah] came about, in part, via money

   transfers through [Defendants’] New York correspondent accounts.” Averbach, 2020 WL 486860,



           3
              Indeed, Plaintiffs have identified at least three New York correspondent accounts for each Defendant,
   belying the notion that their use of correspondent accounts was infrequent or accidental. (See Am. Compl. ¶¶ 132,
   155, 174, 191, 204, 219, 242, 256, 270, 285, 231, 300.)

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   at *7.

            In sum, the Amended Complaint plausibly alleges frequent and deliberate use of New

   York-based correspondent accounts to facilitate the Hezbollah financing which led to Plaintiffs’

   injuries. Accordingly, Plaintiffs have pleaded a prima facie case under N.Y. C.P.L.R. § 302(a)(1).

            2. Constitutional Due Process

            In concluding that due process was satisfied in Licci, the Second Circuit observed that it

   would be “rare” and “unusual” for a court to determine that the exercise of personal jurisdiction

   over a defendant was permitted by § 302(a)(1), but prohibited under principles of due process. 732

   F.3d at 170. The Second Circuit was indeed aware of no such decisions within this Circuit. Id.

            Plaintiffs have alleged that Defendants had minimum contacts with New York such that

   “the defendant purposefully availed itself of the privilege of doing business in the forum and could

   foresee being haled into court there.” Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez,

   305 F.3d 120, 127 (2d Cir. 2002) (internal quotation marks omitted). The Amended Complaint

   alleges that Defendants each maintained multiple correspondent accounts in New York, which

   they used to facilitate the transfer of millions of dollars for their Hezbollah-affiliated customers.

   The Second Circuit has held that such a “selection and repeated use of New York’s banking

   system, as an instrument for accomplishing the alleged wrongs for which the plaintiffs seek

   redress” permits personal jurisdiction “consistent with due process requirements.” Licci, 732 F.3d

   at 171. Although Defendants could have maintained dollar-denominated correspondent accounts

   in many countries, they chose to do so in New York. See Tamam v. Fransabank SAL, 677 F.

   Supp. 2d 720, 729 (S.D.N.Y. 2010) (noting that foreign bank defendants can maintain U.S. dollar

   correspondent relationships with banks throughout Europe, Asia, and Africa). 4


            4
              While Defendants are correct that the Second Circuit in Waldman v. Palestine Liberation Organization
   required a “substantial connection” between the in-forum contacts and the claims to assert jurisdiction under the ATA,

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             In sum, this is not the rare (perhaps unprecedented) case in which New York’s long-arm

   statute is satisfied but constitutional due process is not. Defendants’ select and repeated use of the

   New York banking system as an instrument to effect the wrongs of which Plaintiffs complain

   permits personal jurisdiction here consistent with constitutional due process.

       II.      Primary Liability Under 18 U.S.C. § 2333(a)

             Plaintiffs’ first cause of action is for primary liability under 18 U.S.C. § 2333(a). To plead

   primary liability under § 2333(a), Plaintiffs must plausibly allege “(1) an injury to a U.S. national,

   (2) an act of international terrorism, and (3) causation.” O’Sullivan v. Deutsche Bank AG, No. 17

   CV 8709-LTS-GWG, 2019 WL 1409446, at *4 (S.D.N.Y. Mar. 28, 2019) (internal citations

   omitted).

             A. Injury to a U.S. National

             Only U.S. nationals who have been injured and their “estate, survivors, or heirs” may

   recover under § 2333(a). Averbach, 2020 WL 486860, at *9. Plaintiffs are “American nationals

   who were injured, and [their] estates and families.” (Am. Compl. ¶ 1.) Defendants do not dispute

   that this element of primary liability is alleged adequately.

             B. Acts of International Terrorism

             “For an act to constitute international terrorism, it must satisfy four separate requirements:

   (1) it must involve violent acts or acts dangerous to human life; (2) it must qualify as a violation

   of the criminal laws of the United States or of any State if it were committed within a United States

   jurisdiction; (3) it must appear to be intended to intimidate a civilian population, influence




   Plaintiffs have pleaded such a connection here. They allege that Defendants transferred hundreds of millions of dollars
   through their New York correspondent accounts, knowing that such funds were being sent on behalf of Hezbollah.
   (See, e.g., Am. Compl. ¶¶ 1576–77.) In Waldman there were no correspondent banking transactions as in this case or
   Licci. 835 F.3d at 342. Rather, Defendants’ alleged U.S.-connections “revolve[d] around lobbying activities that are
   not proscribed by the ATA and are not connected to the wrongs for which the plaintiffs here seek redress.” Id.

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   government policy, or affect the conduct of government by certain specified means; and (4) it must

   occur primarily outside the United States or transcend national boundaries.” Licci v. Lebanese

   Canadian Bank, SAL, 673 F.3d 50, 68 (2d Cir. 2012) (internal quotation marks omitted). The

   alleged conduct occurred outside the United States, so only the first three elements are at issue.

           1. Acts Dangerous to Human Life

           Plaintiffs do not argue that Defendants’ conduct was “violent,” but rather that it was

   “dangerous to human life.” (See Opp’n at 66–68.) Cases involving conduct alleged to be

   “dangerous to human life” can be arranged along a spectrum involving more or less dangerous

   behavior. On the more dangerous end of the spectrum is Boim v. Holy Land Found. for Relief &

   Dev., 549 F.3d 685 (7th Cir. 2008) (Posner, J.). There, the Seventh Circuit found that a defendant

   accused of directly donating funds to a foreign terrorist organization committed “an act dangerous

   to human life.” Boim, 549 F.3d at 690 (noting that “[g]iving money to Hamas [is] like giving a

   loaded gun to a child”). 5 On the other end of the spectrum lie cases where banks provided services

   to customers engaged in principally legitimate businesses but who may have a limited connection

   to terrorism. See, e.g., Freeman v. HSBC Holdings PLC, 413 F. Supp. 3d 67, 91 (E.D.N.Y. 2019)

   (“Given the many legitimate activities [of a commercial airline and maritime carrier], the mere act

   of providing financial services to them cannot be violent or dangerous.”), appeal docketed, No.

   19-3970 (2d Cir. Nov. 26, 2019); O’Sullivan, 2019 WL 1409446, at *8; Kemper, 911 F.3d at 390.

   Somewhere in the middle of this spectrum are cases such as this one, in which banks allegedly

   provided financial services to customers affiliated with a foreign terrorist organization. At least

   one court in this Circuit has held such services do not constitute acts dangerous to human life. See



           5
             Defense counsel at oral argument doubted the continuing vitality of Boim. (See Oral Arg. Tr. at 10:5–8.)
   But the subsequent cases have explicitly distinguished rather than departed from Boim. E.g., Kemper v. Deutsche
   Bank AG, 911 F.3d 383, 390 (7th Cir. 2018).

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   Kaplan v. Lebanese Canadian Bank, SAL, 405 F. Supp. 3d 525, 532 (S.D.N.Y. 2019), appeal

   docketed sub nom Licci v. American Express Bank Ltd., No. 19-3522 (2d Cir. argued Nov. 19,

   2020). 6

              The allegations here closely parallel those in Kaplan. In both cases, “[t]here is no dispute

   that Defendant did not itself perpetrate the rocket attacks that injured Plaintiffs.                         Rather,

   Defendant’s alleged misconduct was providing wire transfer and other financial services” to

   customers allegedly affiliated with Hezbollah. Kaplan, 405 F. Supp. 3d at 532. As the court

   concluded in Kaplan, alleging that defendants provided financial services is different than alleging

   “Defendant’s own actions . . . involved violence or endangered human life” under 18 U.S.C.

   § 2333(a). Id.; see also Linde v. Arab Bank, PLC, 882 F.3d 314, 327 (2d Cir. 2018) (“[P]roviding

   routine financial services to members and associates of terrorist organizations is not so akin to

   providing a loaded gun to a child as to . . . compel a finding that as a matter of law, the services

   were violent or life-endangering acts[.]”); see also Weiss v. Nat’l Westminster Bank PLC, 381 F.

   Supp. 3d 223, 235 (E.D.N.Y. 2019). Plaintiffs’ counsel acknowledged in oral argument that,

   unlike in Boim, Plaintiffs do not allege that Defendants donated funds or provided currency to

   Hezbollah or any Hezbollah affiliates. (Oral Arg. Tr. at 19:9–12, 26:24–27:5.) Although I

   conclude that the Amended Complaint sufficiently alleges that Defendants knowingly provided

   substantial assistance to Hezbollah, see infra, I agree with the Kaplan court’s conclusion on the

   question of primary liability that providing financial services such as those alleged here is not an

   act which is “violent or dangerous to human life” as contemplated by the ATA. Accordingly,

   Plaintiffs’ primary liability claims are dismissed.



              6
             Plaintiffs in Kaplan, who are represented by the same counsel as the Plaintiffs in this case, have appealed
   the dismissal of their secondary liability claims but not their claim for primary liability. See Brief for Plaintiffs-
   Appellants, D.E. # 57, No. 19-3522 (2d Cir.).

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      III.      Secondary Liability Under 18 U.S.C. § 2333(d)

             Plaintiffs’ second cause of action is for aiding-and-abetting liability under 18 U.S.C.

   § 2333(d). (Am. Compl. ¶¶ 5658–5673.) Pleading aiding-and-abetting under JASTA requires

   plausible allegations that Defendants “knowingly provid[ed] substantial assistance” to an

   “organization that had been designated as a foreign terrorist organization . . . as of the date on

   which such act of international terrorism was committed, planned, or authorized[.]” 18 U.S.C. §

   2333(d)(2). The proper framework for determining aiding-and-abetting liability under JASTA is

   the decision set forth in Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983). See 18 U.S.C. §

   2333 Statutory Note (Findings and Purpose § 5). Halberstam identifies three elements of aiding-

   and-abetting liability: “(1) the party whom the defendant aids must perform a wrongful act that

   causes an injury; (2) the defendant must be generally aware of his role as part of an overall illegal

   or tortious activity at the time that he provides the assistance; (3) the defendant must knowingly

   and substantially assist the principal violation.” Halberstam, 705 F.2d at 477.

             A. The Principal

             Under 18 U.S.C. § 2333(d)(2), a JASTA plaintiff’s injuries must arise from an act of

   international terrorism that was committed, planned, or authorized by a foreign terrorist

   organization “officially designated as such.” Freeman, 413 F. Supp. 3d at 96. Hezbollah has been

   an officially designated FTO since 1997. But Defendants argue that the Amended Complaint fails

   to plausibly allege that the Attacks were committed, planned, or authorized by Hezbollah; instead,

   Defendants say, they were allegedly committed by “third party paramilitary groups.” (D.E. # 140

   (“Omnibus Reply”) at 11.)

             Analogizing this case to Crosby v. Twitter, Inc., Defendants argue that Plaintiffs allege

   only a tenuous connection between Hezbollah and the actual perpetrators of the attacks. (Omnibus



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   Supp. at 35 (citing 921 F.3d 617 (6th Cir. 2019).) But in Crosby, the FTO’s involvement in the

   attacks was much more tenuous than what Plaintiffs allege here. In Crosby, plaintiffs sought relief

   for injuries inflicted by a “self-radicalized” individual who was “virtually recruited” and planned

   and committed an attack on his own without any assistance or contact with the FTO. Id. at 626.

   Here, Plaintiffs allege that Hezbollah trained the Iraqi militias, (Am. Compl. ¶ 2066), controlled

   and directed those militias, (Am. Compl. ¶ 2943), planned the Attacks, (Am. Compl. ¶¶ 1952–

   1955), and designed and emplaced the weapons used in the Attacks, (Am. Compl. ¶ 3462). (See

   generally Am. Compl. ¶¶ 1852–2046.); Freeman, 413 F. Supp. 3d at 96–97; Miller, 372 F. Supp.

   3d at 48.

            In sum, Plaintiffs have satisfied this first requirement by detailing Hezbollah’s involvement

   in the Attacks, and how Plaintiffs’ injuries resulted from those Attacks. (Am. Compl. ¶¶ 2047–

   5646.)

            B. General Awareness

               1. Standard

            The second element of aiding-and-abetting liability requires “the secondary actor to be

   aware that, by assisting the principal, it is itself assuming a role in terrorist activities.” Linde, 882

   F.3d at 329 (internal quotation marks omitted) (citing Halberstam, 705 F.2d at 477). The general-

   awareness threshold is lower than the “specific intent demanded for criminal aiding and abetting

   culpability” and does not require “proof that [defendant] knew of the specific attacks at issue when

   it provided financial services for [a foreign terrorist organization].” Id. Still, “aiding and abetting

   an act of international terrorism requires more than the provision of material support to a

   designated terrorist organization.” Id. (emphases in original); Honickman for Estate of Goldstein

   v. BLOM Bank SAL, 432 F. Supp. 3d 253, 264 (E.D.N.Y. 2020) (distinguishing aid to “terrorist



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   attacks” from aid to “‘terrorist activities,’ from which terrorist attacks were a natural and

   foreseeable consequence.”), appeal docketed No. 20-575 (2d Cir. Feb. 13, 2020).

           In Halberstam, the D.C. Circuit found Linda Hamilton civilly liable for aiding and abetting

   a murder committed during a burglary by her boyfriend, Bernard Welch. See id. at 474–76. Welch

   was a serial burglar who sold the goods he stole. Id. at 475. Hamilton had assisted Welch by

   typing sales letters, keeping inventories, and performing general secretarial work. Id. But she

   testified that “she knew absolutely nothing about Welch's wrongdoing.” Id. at 486 (emphasis in

   original).

           The district court rejected Hamilton’s pleas of ignorance, entering a verdict against her

   which the D.C. Circuit affirmed on appeal. That court reasoned that it “defies credulity that

   Hamilton did not know that something illegal was afoot,” due to “Welch’s pattern of

   unaccompanied evening jaunts over five years, his boxes of booty, the smelting of gold and silver,

   the sudden influx of great wealth, [and] Hamilton's collusive and unsubstantiated treatment of

   income and deductions on her tax forms.” Id. at 486. Moreover, it was not necessary for Hamilton

   to know “specifically that Welch was committing burglaries.” Id. at 488. Rather, “it was enough

   that she knew he was involved in some type of personal property crime at night” because “violence

   and killing is a foreseeable risk in any of these enterprises.” Id. at 488.

                2. Application

           The Amended Complaint alleges that each Defendant “knew” certain Bank Customers

   were Hezbollah affiliates and that Hezbollah was responsible for attacks such as those inflicted

   upon the Plaintiffs. (E.g., Am. Compl. ¶¶ 1604, 1646, 1679.) These assertions would, on their

   own, be conclusory. But Plaintiffs substantiate these assertions with specific factual averments

   supporting the inference that Defendants were generally aware of these customers’ nefarious



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   activities and that, by providing them access to financial services, they had assumed a role in

   Hezbollah’s terrorist attacks. Specifically, Plaintiffs assert general awareness based on certain

   Bank Customers’ designation as SDGTs and Bank Customers’ open and notorious affiliation with

   Hezbollah (including through public media reports).

            Plaintiffs plausibly allege that the United States designated certain Bank Customers as

   SDGTs and that Defendants knew of these designations. The Amended Complaint details each

   Defendants’ anti-money laundering and counter-financing of terrorism procedures, which would

   give the banks reason to know when a customer had been designated an SDGT. (E.g., Am. Compl.

   ¶ 173.) Where courts have discounted such designations, there was a temporal disconnect between

   the attacks and designations. Honickman, 432 F. Supp. 3d at 267 (“None of the [account holders]

   were designated by the United States prior to the rocket attacks at issue.”); O’Sullivan, 2019 WL

   1409446, at *9 (same). The timeline here is more favorable to Plaintiffs. Defendants concede that

   “the Amended Complaint identifies 19 Alleged Bank Customers that were designated as providing

   material support to Hezbollah at some point in time before the last Attack.” (Omnibus Supp. at 9–

   10.) Each Defendant except Bank of Beirut SAL (which is discussed further infra) had at least one

   customer who was an SDGT during the relevant period. It seems plain that JASTA proscribes

   knowingly enabling an organization such as IRSO—which was publicly designated by the U.S.

   government as a key Hezbollah fundraiser for violent terrorist attacks. (See Am Compl. ¶ 418.) At

   least five Defendants are alleged to have had IRSO as a customer. (Id. ¶ 8.) 7

            Further supporting Plaintiffs’ contentions are their allegations that certain Bank Customers


            7
             Defendants raise the formalistic argument that assistance to SDGTs like IRSO and the Martyrs Foundation
   cannot create liability because they are not themselves designated FTOs. (Omnibus Supp. at 10 n.16.) But courts
   have recognized that FTOs can operate through affiliates and front groups, and that to aid such front groups is to aid
   the FTO. See United States v. El-Mezain, 664 F.3d 467, 489 (5th Cir. 2011) (affirming conviction under § 2339B for
   donating to non-FTO entities under the control of a designated-FTO); Strauss v. Credit Lyonnais, S.A., 925 F. Supp.
   2d 414, 434–35, 442 (E.D.N.Y. 2013) (concluding that “a reasonable jury could find that the [non-FTO charities] are
   operating as [designated-FTO] front groups”).

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   openly and notoriously associated with Hezbollah. Plaintiffs describe at length the widespread

   knowledge that certain Bank Customers were Hezbollah affiliates, including the publication of such

   information in contemporaneous mass media. (See, e.g., Am Compl. ¶¶ 420 (1986 newspaper

   advertising Hezbollah-affiliated account at Defendant bank), 421 (2006 MSNBC report identifying

   Hezbollah-affiliated account at Defendant bank), 889 (2002 United Nations Report identifying

   alleged Customers as Hezbollah affiliates), 1499–1500 (2006 NBC report identifying Hezbollah-

   affiliated account at Defendant bank), 1563 (2006 television broadcast linking Defendant bank to

   Hezbollah).) Even if Plaintiffs do not allege that Defendants saw the specific television reports or

   newspaper advertisements, those records bolster the inference—already made plausible by the

   timely SDGT designations—that Defendants knew their customers were using Defendants’

   financial services to weaponize their terrorist attacks.

           Defendants urge the Court to reject Plaintiffs’ reliance on public information to support the

   “general awareness” prong. (See generally Omnibus Reply at 13–16.) But it would be unrealistic

   to expect a plaintiff at the pleading stage to possess direct evidence of a bank’s subjective awareness

   of its role in terrorist attacks—internal memoranda, e-mails, and the like. 8 Nor is such a standard

   supported in the case-law. Defendants rely on cases in which courts declined to infer general

   awareness based on publicly available information, but those cases are distinguishable. In Kaplan,

   unlike here, the sources describing the alleged affiliations between customers and Hezbollah were

   “dated after . . . the rocket attacks at issue.” 405 F. Supp. 3d at 535. So too in Averbach, “none of

   the Account Holders were designated by the United States government to be terrorists or terrorist

   organizations at the time of the fund transfers identified in the Complaint.” 2020 WL 486860, at



           8
              Even accepting Defendants’ proposed rule, Plaintiffs here have relied on subjective information by
   identifying each bank’s compliance policies which would give them reason to know of their customers’ SDGT
   designations.

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   *12. In contrast to those cases, Plaintiffs here have identified information and designations

   publicized before the Attacks which would link the Bank Customers to Hezbollah and which

   Defendants would have reason to know.

           Defendants’ reliance on Siegel v. HSBC N. Am. Holdings, Inc., 933 F.3d 217, 225–26 (2d

   Cir. 2019) is similarly misplaced. (Omnibus Supp. at 39–40.) In Siegel, the defendant bank’s

   customer was not the terrorist organization itself, but another bank—Al Rajhi Bank (“ARB”)—

   which had allegedly dealt with a terrorist organization. 933 F.3d at 220. The plaintiffs in Siegel

   conceded that ARB was “a large bank with vast operations” and did not allege that “most, or even

   many, of ARB’s banking activities are linked to terrorists.” Id. at 224. And “crucially,” ten months

   before the relevant attacks the defendant bank “ceased doing business with ARB altogether.” Id.

   Here, the alleged Customers include Hezbollah itself (or its terroristic affiliates)—not an

   intermediary like ARB whose activities were mostly unrelated to terrorism. 9 Further differentiating

   this case from Siegel, Defendants had not allegedly ceased doing business with the Bank Customers

   months before the Attacks.

           A well-reasoned recent opinion provides a cogent explanation of why plaintiffs are entitled

   to rely on circumstantial evidence to support the general awareness prong of aiding-and-abetting

   liability. See Henkin v. Kuveyt Turk Katilim Bankasi, A.S., ___ F. Supp. 3d ___, 2020 WL

   6143654 (E.D.N.Y. Oct. 20, 2020). In rejecting a defendant’s motion to dismiss a JASTA claim,

   the Henkin court explained that at the pleading stage, “terrorist victims and their families

   understandably do not have conclusive evidence that bank officials or compliance staff had actual

   knowledge of various red flags that could have apprised them of their customer’s nefarious



           9
               That alone explains why Defendants’ repeated invocation of the fact that “only 19 of the 205 Bank
   Customers were so designated [as SDGTs]” is misplaced. (Omnibus Reply at 13.) In Siegel, the number of mostly-
   terroristic bank customers was zero. Here, even Defendants concede that there were nineteen.

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   activities.” Id. at *9 (citing Phelps v. Kapnolas, 308 F.3d 180, 187 (2d Cir. 2002)). Recognizing

   that a plaintiff can rely on circumstantial evidence even “when facing a heightened pleading

   standard when alleging fraud under Rule 9(b),” the court concluded that “it must logically follow

   that a plaintiff asserting an ATA/JASTA claim may as well.” Id. Where Plaintiffs have plausibly

   alleged widespread public knowledge linking bank customers to a terrorist organization, there is no

   need to allege that the defendant necessarily read the specific media reports.

          Defendants also advance a doctrinal argument, but that fares no better. To find general

   awareness here, Defendants say, “would, in effect, replace the scienter for aiding-and-abetting

   liability with the lower scienter required for material support.” (Omnibus Reply at 14–15 (citing

   Honickman, 432 F. Supp. 3d at 267).) The Second Circuit in Linde did distinguish the knowing

   provision of material support from knowingly assuming a role in terrorist attacks. 882 F.3d at 329–

   30. An example illustrates the difference. Consider a bank that knowingly provides a loan to a

   terrorist organization so that it can purchase a vehicle, aware that it will be used to chauffeur around

   the organization’s leader.    That may constitute material support to the organization without

   assuming a role in life-endangering attacks. But when that same bank provides a vehicle loan

   knowing that the vehicle will likely be armed with explosives and driven into a public square to

   commit a terrorist attack, the otherwise “routine” activity may create aiding-and-abetting liability

   under JASTA. See Linde, 882 F.3d at 330 (concluding that “a jury, properly instructed as to aiding

   and abetting, [could] infer the requisite awareness” from communications which “alerted the bank

   that the transfers being requested therein were payments for suicide bombings”).

          Here, Plaintiffs allege that Defendants knowingly provided Hezbollah with wide-ranging

   financial services—including maintenance of accounts, accepting donations from abroad, and

   processing wire transfers—that were integral to financing Hezbollah’s terroristic attacks. That



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   conduct differs from the “mere” provision of material support. Plaintiffs have not alleged an

   isolated provision of financial services to Hezbollah. Rather, they allege a wide-ranging, years-

   long, knowing scheme of coordination in which Defendants acted as Hezbollah’s core financial

   service-providers. Plaintiffs allege that despite Hezbollah’s purportedly multifaceted nature, it

   remains singularly dedicated to religiously inspired terrorist attacks, (Am. Compl. ¶ 354); any

   suggestion that Hezbollah’s core bankers would be unaware of their role in those attacks by

   providing it banking services necessary to funding those attacks is highly dubious.

            One Defendant, Bank of Beirut, is on somewhat different footing. Bank of Beirut is not

   alleged to have maintained an account or provided financial services for a customer designated as

   an SDGT before any Attacks. To be sure, JASTA liability does not turn on whether the defendant

   had a customer designated as an SDGT. But in the absence of such a designated customer, the

   question remains whether this bank would have had reason to know it was assisting terrorist

   attacks. 10 Although it is a closer case, I conclude that Plaintiffs sufficiently plead that Bank of

   Beirut would have had general awareness of assuming a role in Hezbollah’s attacks. The bank

   allegedly provided services to members of and companies controlled by the prominent Tajideen

   family—knowing that the Tajideens are “synonymous with Hezbollah,” with family members and

   businesses designated as SDGTs. (Id. ¶¶ 1614, 1750-52.) The bank also allegedly took over

   Hezbollah-affiliated accounts from LCB after those accounts were forcibly closed following LCB’s

   Hezbollah-related audit; and the bank would have reason to know of concerns with LCB’s accounts

   due to the scandal surrounding its forced closure. (Id. ¶¶ 97–110, 1751–1753, 1764–65.)

            In sum, Plaintiffs’ detailed factual allegations plausibly allege that Defendants were



            10
              Defendants have not specifically argued that the claims against this bank are weaker than against the others;
   but I consider its case in the interest of fullness and given my conclusion’s reliance on the other banks’ having had
   SDGT-designated customers during the relevant period.

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   generally aware of having assumed a role in Hezbollah’s Attacks.

           C. Substantial Assistance

           1. Standard

           The third prong of aiding and abetting liability under JASTA is that the defendant must

   have “substantially assist[ed] the principal violation”—here, the terrorist attacks. Halberstam, 705

   F.2d at 477. Linde instructs courts to consider the six factors outlined in Halberstam: (1) nature

   of the act; (2) amount and kind of assistance; (3) presence at the time of the tort; (4) relation to the

   tortfeasor; (5) state of mind; and (6) duration of assistance. 882 F.3d at 329 (citing Halberstam,

   705 F.2d at 483–84.) Although aiding and abetting often involves “direct encouragement by word

   or deed,” a defendant’s actions “may also be more distant in time and location and still be

   substantial enough to create liability.” Halberstam, 705 F.2d at 482.

           In Linde, the court allowed that a jury might find substantial assistance from a bank

   processing payments for suicide bombings and providing other financial services to Hamas. Linde,

   882 F.3d at 318, 330. In Siegel, the court held that a bank’s transferring millions of dollars to

   another bank was not substantial assistance, because the defendant bank did not know that those

   funds would ultimately be sent to a terrorist organization. 933 F.3d at 225. Implicit in Siegel’s

   reasoning is the suggestion that knowingly processing millions of dollars in bank transfers for a

   terrorist organization (rather than its bank) would constitute substantial assistance.

           2.   Application

           I begin by applying the factors set forth in Halberstam v. Welch:

           (1) Nature of the act: This factor “dictates what aid might matter, i.e., be substantial.”

   Halberstam, 705 F.2d at 484. 11 Here, the ultimate tortious act was the commission of violent and


           11
              Halberstam also described this factor as “Nature of the act encouraged,” and some courts have asked
   whether the defendant expressly “encouraged” the terrorist attacks. E.g., Averbach, 2020 WL 486860, at *16 (“There

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   deadly acts of terrorism. Hezbollah allegedly supported the paramilitary attackers, trained them,

   armed them with explosive weaponry, provided them with logistical support, and directed their

   Attacks—all of which required capital. The Amended Complaint alleges in detail how Defendants

   enabled Hezbollah to procure that capital for carrying out the Attacks. This is unlike cases in

   which the bank’s customers also performed non-terrorist activities, meaning any assistance would

   potentially have supported legitimate purposes. Cf. Kemper, 911 F.3d at 390. Bank Customers

   such as IRSO allegedly have no legitimate activities, (Am. Compl. ¶¶ 400–418); and although

   Hezbollah is a multifaceted organization, it is singularly dedicated to terrorism, (id. ¶ 354).

            While in the abstract there may be a gap between banking services and terrorist attacks,

   these allegations plausibly bridge that gap. First, Plaintiffs allege that Hezbollah dedicates itself

   always and ultimately to terrorism. (Id. ¶ 354.) Second, Plaintiffs allege that Defendants’

   customers such as IRSO, Martyrs Foundation, and IKRC fundraise and recruit for the kinds of

   terrorist attacks alleged here. (Id. ¶¶ 417, 491, 580.) Third, Plaintiffs allege that Defendants

   provide Hezbollah access to the Lebanese economy by helping to convert large dollarized cash

   deposits into Lebanese pounds, including through exchange houses known to be affiliated with

   Hezbollah. (Id. ¶ 1488.) Fourth, Plaintiffs allege that Defendants allowed “blacklisted” accounts

   to migrate to their own banks after those accounts were forcibly closed at LCB due to their

   association with Hezbollah. (E.g., id. ¶¶ 1512–1514.)                 Taken together, these allegations depict

   Defendants as essential financial enablers of Hezbollah’s known front organizations. While

   Defendants are not alleged to be bombmakers, they are alleged to have knowingly enabled



   is no allegation that CAB encouraged the Attacks or any of Hamas’s terrorist activities.”) Defendants urge a
   requirement of encouragement here. (See Omnibus Reply at 16–17.) But such an interpretation is at odds with
   Halberstam, which elsewhere called this factor “nature of the act assisted.” 705 F.2d at 488 (emphasis added). The
   purpose of this factor is not to ask whether there was affirmative encouragement, but to understand whether the
   defendant’s conduct was of a kind that might be substantial. See id. (applying this factor without asking whether there
   was encouragement).

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   Hezbollah to access the funds to purchase its weaponry. That conduct is certainly “integral” to the

   Attacks that were ultimately committed. As in Halberstam, a party can aid and abet an act even

   if its role is a purely bureaucratic one—financial machinations on which “the success of the

   tortious enterprise” rests. 702 F.2d at 488.

            Defendants dispute that providing “routine banking services” can constitute substantial

   assistance. (Omnibus Supp. at 43.); see Honickman, 432 F. Supp. 3d at 264 (“[T]he mere provision

   of routine banking services to an FTO does not render a bank liable for civil aiding and abetting.”)

   By “routine banking services” Defendants apparently mean that the services are the kind available

   to any customer—maintaining accounts, transferring funds, and the like. (See Omnibus Supp. at

   24.) Defendants’ argument has some superficial appeal, but it is ultimately unavailing. Although

   the defendant in Halberstam had “performed these services in an unusual way under unusual

   circumstances,” the court did not equate “unusual” with “substantial.” 705 F.2d at 487. The

   Second Circuit in Linde and Siegel thus indicated that processing wire transfers for terrorists could

   support a finding of substantial assistance. 882 F.3d at 330; 933 F.3d at 221. Yet wire transfers

   are a service available to any customer, not only terrorists. 12

            In sum, Defendants’ alleged financial support to Hezbollah was “integral” to the Attacks,

   and this factor weighs in favor of finding substantial assistance. 13



            12
               One might define “routine banking services” to mean banking services which do not appear from the bank’s
   vantage to be carried out for terrorists. That definition would support the statement of law that banks cannot be liable
   for providing routine banking services. But one would reach the conclusion under the “general awareness” prong,
   rather than the substantial assistance prong. See Woodward v. Metro Bank of Dallas, 522 F.2d 84, 94–96 (5th Cir.
   1975) (“If the alleged aider and abettor conducts what appears to be a transaction in the ordinary course of his business,
   more evidence of his complicity is essential.”) (cited in Halberstam, 705 F.2d at 477). Using that subjective definition
   of “routine,” it is not improper to insulate “routine banking services” from JASTA liability; but stretching the argument
   to place beyond JASTA’s reach activities such as wire transfers would unduly hamstring the statute and contradict the
   Second Circuit’s guidance in Linde and Siegel.
            13
              The Amended Complaint also includes numerous allegations of less obviously nefarious conduct, such as
   providing services to non-designated businesses such as an amusement park which allegedly funneled money to
   Hezbollah. (See id. ¶ 647.) Regardless of whether such conduct would alone constitute substantial assistance,

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           (2) Amount and kind of assistance: The financial services provided by Defendants were

   not only of a substantial kind, they were also of a substantial amount. The Amended Complaint

   explains that the services provided to the alleged Bank Customers enabled access to millions of

   dollars. (See, e.g., Am. Compl. ¶ 120 (charging Defendants with “facilitating the transfer of at

   least hundreds of millions of U.S. dollars through the United States on Hezbollah’s behalf and for

   Hezbollah’s benefit.”).) Although the Amended Complaint does not specify exactly how much

   money was received in the accounts held by the designated SDGTs, Plaintiffs do allege that such

   accounts had been publicly advertised since 1986, that Israeli jets targeted several Defendants’

   offices in the mid-2000s for being publicly associated with Hezbollah, and that there was a phone

   number that members of the public could call for assistance with making donations to Hezbollah.

   (See id. ¶¶ 420-421, 1499, 1563.) That those events occurred over a lengthy timespan creates the

   plausible inference that Hezbollah raised substantial sums through these accounts. This factor

   thus weighs in favor of a finding of substantial assistance.

           (3) Presence at the time of the tort: Plaintiffs admit that Defendants were not present at the

   time of the Attacks. (Opp’n at 55.) But there is reason to afford this factor little weight here.

   Halberstam discounted this factor because the tortious enterprise there necessarily required certain

   activities away from where the tort was committed, and the defendant’s “role in that side of the

   business was substantial.” 705 F.2d at 488. The same is true here: the Attacks required substantial

   funding activities which can be expected to occur far earlier and away from the where the Attacks

   were committed.

           (4) Relation to the tortfeasor: This factor recognizes that one’s encouragement of a tort

   may be more effective or less effective depending on one’s relationship to the person being


   Defendants have moved to dismiss the entire Amended Complaint and I consider Plaintiffs’ allegations in their
   entirety.

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   encouraged. For example, if someone maintains a “position of authority” over another, there will

   be “greater force to his power of suggestion.” Id. at 484. The Halberstam court warned that this

   factor can be difficult to interpret and that “we must be cautious not to overemphasize the

   relationship.” Id. at 488 (giving this factor “a low priority in our calculus”).

           The Amended Complaint does include a small number of allegations suggesting that

   certain Defendant banks maintained a close relationship to Hezbollah. The chair of MEAB Bank

   was designated an SDGT in 2015 due to his connection to Hezbollah; Defendant JTB was likewise

   designated in 2019. (Am. Compl. ¶ 1557; D.E. # 142-2.) But other allegations undercut the notion

   of a close relationship, such as the chairman of Defendant Fransabank’s statement that “[w]e have

   no relationship with Hezbollah.” (Am Compl. ¶ 1500.) Even Plaintiffs admit that the Hezbollah-

   affiliates’ relationship to Defendants is that of “customers.” (E.g., id. ¶ 1493.)

           (5) State of mind: This factor asks whether the defendant “was one in spirit” with the

   tortfeasor, such that its conduct “evidences a deliberate long-term intention to participate in an

   ongoing illicit enterprise.” Halberstam, 705 F.2d at 484, 488. The Second Circuit in Siegel

   indicated that this factor could favor a finding of substantial assistance if the defendant “knowingly

   or intentionally supported [the terrorist organization].” 933 F.3d at 225. As discussed with respect

   to the “general awareness” prong, Plaintiffs have plausibly alleged that Defendants knew they were

   enabling fundraising for Hezbollah. 14 This factor accordingly weighs in favor of substantial

   assistance. Cf. Siegel, 933 F.3d at 225.




            14
                This factor appears to overlap to some extent with the “general awareness” prong. One distinction may
   be that this factor assesses the defendant’s overall state of mind, whereas the “general awareness” prong seeks to
   confirm that the defendant knew the object of the scheme was improper; this prevents imposing liability where a
   defendant knowingly aided tortious activity but was not aware that the aided activity was illegal. See Halberstam,
   705 F.2d at 485 n.14 (“[W]e have acknowledged that an ‘awareness of wrong-doing requirement’ for an aider-abettor
   is designed to avoid subjecting innocent, incidental participants to harsh penalties or damages.”).

                                                          29
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           (6) Duration of assistance: This factor “affects the quality and extent of their relationship

   and probably influences the amount of aid provided as well . . . .” Halberstam, 705 F.2d at 484.

   Plaintiffs allege that Defendants provided banking services to the alleged Customers from at least

   2004–2011.        The Amended Complaint includes allegations concerning specific banking

   transactions that plausibly occurred within that time period. (E.g., Am. Compl. ¶¶ 1152.) The

   complaint also includes allegations of certain Defendants providing services to the alleged Bank

   Customers as far back as 1986. (Id. ¶ 420.) Moreover, the Amended Complaint alleges that

   Defendants continued to provide services to customers even after their accounts had been forcibly

   closed at LCB. (E.g., id. ¶¶ 1512–1514.) This factor “may afford evidence of the defendant’s

   state of mind.” Halberstam, 705 F.2d at 484. The continued provision of financial services to

   these blacklisted account-holders certainly evinces a culpable, or at least willfully blind state of

   mind.

           In sum, four Halberstam factors in the main weigh in favor of substantial assistance.

           Finding substantial assistance here would be consistent with the Second Circuit precedents.

   Linde taught that a jury could find substantial assistance where a defendant “knowingly provid[ed]

   financial services to Hamas [and] an entity that made payments to the families of Hamas suicide

   bombers.” Id. at 318. Substitute Hezbollah for Hamas, and those are the exact allegations

   Plaintiffs make here. Likewise in Siegel, the Second Circuit indicated that knowingly processing

   millions of dollars in transfers for a terrorist organization would constitute substantial assistance.

   933 F.3d at 225. That is what Plaintiffs here have plausibly alleged.

           Recent district court cases rejecting JASTA claims against financial institutions are not to

   the contrary. 15 Many of the recent cases did not reach the question of substantial assistance, instead


           15
              As an initial matter, most such cases are on appeal which makes their current precedential value tenuous.
   See Licci v. American Express Bank Ltd., No. 19-3522 (2d Cir.); Weiss v. National Westminster Bank PLC, No. 19-

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   for example deciding the case on the “general awareness” prong. E.g., O’Sullivan, 2019 WL

   1409446, at *10; Weiss, 381 F. Supp. 3d at 238–39 (same); Freeman, 413 F. Supp. 3d at 97–98.

   Others involved bank customers whose designation as terrorists came only after the attacks at

   issue. E.g., Kaplan, 405 F. Supp. 3d at 536; Honickman, 432 F. Supp. 3d at 265. Likewise, the

   complaint in Averbach provided “no non-conclusory allegations from which the Court can infer

   that [the terrorist organization] actually received the funds transferred through the correspondent

   accounts.” 2020 WL 486860, at *16. First of all, I would note that none of these cases are

   controlling authority. In any event, this case is distinguishable from all of those: the Bank

   Customers here were allegedly designated as SDGTs during the relevant period, which permits the

   inference that Defendants knew their financial services were going to support Hezbollah.

           Defendants argue that the Amended Complaint lacks allegations concerning precisely

   when the particular services were provided. (See Omnibus Supp. at 1–2, 42–43.) That argument

   demands a level of specificity not required at the pleadings stage. The Amended Complaint is not

   devoid of dates. For example, the complaint references a 1986 newspaper advertisement stating

   that donations to Hezbollah could be made to an account at Defendant JTB. (Am. Compl. ¶ 420.)

   Israel allegedly bombed two Defendants’ offices in 2006 due to their reported affiliation with

   Hezbollah. (Id. ¶¶ 1499, 1563.) And Defendants allegedly allowed blacklisted accounts which

   had been closed at LCB to migrate to their banks in 2011. (Id. ¶¶ 1512–1514.) The Amended

   Complaint also includes specific allegations tying the Bank Customers to Defendants, such as

   IRSO’s and the Martyrs Foundation-Lebanon’s account numbers at certain Defendant banks. (Id.

   ¶ 1494.) Given the specificity that is in the complaint, including temporal specificity, the paucity




   863 (2d Cir.); Freeman v. HSBC Holdings PLC, No. 19-3970 (2d Cir.); Honickman v. Blom Bank, No. 20-575 (2d
   Cir.).

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   of specific allegations concerning when individual wire transfers occurred is a matter for discovery

   and, if appropriate, summary judgment.

             In sum, the Amended Complaint plausibly alleges that Hezbollah committed the Attacks

   that injured Plaintiffs; that Defendants knowingly assumed a role in Hezbollah’s Attacks; and that

   the assistance Defendants allegedly provided to Hezbollah was substantial.                        Plaintiffs have

   accordingly stated a claim for aiding-and-abetting liability under JASTA. 16

       IV.        Successor Liability

             Plaintiffs’ fourth cause of action is for successor liability resulting from SGBL’s

   assumption of LCB’s assets and liabilities under 18 U.S.C. § 2333(a) and 18 U.S.C. § 2333(d).

   (Am. Compl. ¶¶ 5682–5695.) Although Plaintiffs established personal jurisdiction for Claims I–

   III, “[a] plaintiff must establish the court’s jurisdiction with respect to each claim asserted.”

   Sunward Elecs., Inc. v. McDonald, 362 F.3d 17, 24 (2d Cir. 2004) (emphasis omitted). Plaintiffs

   allege that SGBL is subject to personal jurisdiction for successor liability due to (i) its inheriting

   LCB’s personal jurisdiction status with respect to these claims and (ii) SGBL’s own contacts with

   New York. Although I found that Plaintiffs state a claim against SGBL for direct JASTA liability,

   they have failed to establish a prime facie case of personal jurisdiction as to the successor liability

   claim, which must accordingly be dismissed.

             A. Successor Jurisdiction

             Plaintiffs principally assert that the successor liability claim is properly before this Court

   because SGBL inherited LCB’s personal jurisdiction status.                      (Opp’n at 74).         “In certain

   circumstances the successor corporation may inherit its predecessor’s jurisdictional status[.]” U.S.



             16
              Having concluded that Plaintiffs’ Second Claim for Relief states a claim under JASTA, 18 U.S.C. §
   2333(d)(2), there is no need to evaluate their Third Claim for Relief, which also seeks relief under JASTA, 18 U.S.C.
   § 2333(d)(2), under an alternative conspiracy theory.

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   Bank Nat’l Ass’n v. Bank of Am. N.A., 916 F.3d 143, 157 (2d Cir. 2019) (internal quotation marks

   omitted). Whether “liability as a successor in interest also entails being subject to personal

   jurisdiction . . . depends on the basis of the successor liability.” Id. at 156. Although successor

   liability “based on acquisition of a predecessor’s assets” does not necessarily confer successor

   jurisdiction, “the rule is different where the successor liability of the defendant derives from a

   merger with the predecessor.” Id.; In re Nazi Era Cases Against German Defendants Litig., 153

   F. App’x 819, 822 (3d Cir. 2005) (stating that under New York law, “[a] merger of corporations

   generally implicates successor jurisdiction, whereas a mere acquisition of assets does not.”);

   Gronich & Co., Inc. v. Simon Property Grp., Inc., 119 N.Y.S.3d 456, 457 (N.Y. App. Div. 2020)

   (“It is where the ‘successor’ has merely acquired the assets of the predecessor company that the

   [jurisdictional] contacts are not imputed.”).

            Plaintiffs claim that because the LCB-SGBL Sale and Purchase Agreement conferred all

   of LCB’s liabilities, 17 even if it was an asset acquisition rather than a merger, the distinction is

   moot and thus jurisdiction should transfer. (Opp’n at 74–75) (arguing that in U.S. Bank “the court

   could ‘see no reason to doubt’ that the successor to ‘all’ liabilities ‘would be subject to jurisdiction’

   wherever the predecessor would be”). Unscrambling Plaintiffs’ U.S. Bank quotation reveals,

   however, that the Second Circuit explained (albeit in dicta) that it was only “[b]ecause a successor

   by merger is deemed by operation of law to be both the surviving corporation and the absorbed

   corporation” that the successor would incur the predecessor’s jurisdictional status. 916 F.3d at

   156. Though liability transfer is one aspect of a merger, courts have held that “continuity of

   ownership is the essence of a merger,” and “a de facto merger will not be found in the absence of



            17
              The LCB-SGBL Sale and Purchase Agreement states that “[t]he Assumed Liabilities consist inter alia of
   any and all of the Seller’s liabilities and/or obligations and/or debts . . . to the extent they relate to the Seller’s
   Business.” (Am. Compl. ¶ 138; D.E. # 105-2 ¶ 2.3.)

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   this element.” New York v. Nat’l Serv. Indus., Inc., 460 F.3d 201, 211–12 (2d Cir. 2006); Time

   Warner Cable, Inc. v. Networks Grp., LLC, No. 9-cv-10059, 2010 WL 3563111, at *6 (S.D.N.Y.

   Sept. 9, 2010) (analyzing de facto merger “in a flexible manner” but nevertheless maintaining that

   “there must be continuity of ownership”). And continuity of ownership is essential even if the

   buyer assumed the seller’s liabilities. See, e.g., In re New York City Asbestos Litig., 789 N.Y.S.2d

   484, 487–89 (N.Y. App. Div. 2005) (Where “there is no continuity of ownership,” it does “not

   avail plaintiff that the third factor (assumption of liabilities necessary for uninterrupted business

   operations) apparently is present.”).

           That mergers are essentially characterized by continuity of ownership explains why the

   dicta in U.S. Bank approved of successor jurisdiction following a merger: such a rule avoids

   defensive forum-shopping, because otherwise “a corporation liable to suit in a state in which it

   does not wish to be sued could simply arrange a merger with a dummy corporation and thus avoid

   being subject to an undesired jurisdiction in the state where its actions incurred the liability.” 916

   F.3d at 156. That specter of jurisdictional abuse is absent for asset purchases without continuity

   of ownership where the selling company continues to exist and can presumably be haled into court

   for the liabilities at issue. 18 Indeed, the U.S. Bank majority opinion rejected the concurring

   opinion’s reliance on cases involving asset acquisition instead of “successor liability that results

   from a merger.” Id. at 156–57 (summarizing Schenin v. Micro Copper Corp., 272 F. Supp. 523,

   526 (S.D.N.Y. 1967) and concluding that “had the successor liability been based on merger (as

   opposed to successor liability based on purchase of assets), the successor would ‘inherit’ the




             18
                Given that LCB apparently continues to exist, Plaintiffs appear free to attempt to sue LCB in New York
   for the torts they allege; or Plaintiffs may sue SGBL where it is subject to general jurisdiction. Although I am not
   unsympathetic to the difficulties of recovering from a liquidated entity such as LCB, the law does not permit me to
   exercise successor jurisdiction over an asset purchaser such as SGBL, absent continuity of ownership, for claims
   arising from LCB’s tortious conduct.

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   predecessor’s jurisdictional status.”). Thus, courts have recognized successor jurisdictional status

   when the successor corporation absorbs the predecessor corporation as in a merger. E.g., Arabi v.

   Javaherian, No. 13-CV-00456-ERK-CLP, 2014 WL 3892098, at *8 (E.D.N.Y. May 1, 2014)

   (allowing successor jurisdiction where “the predecessor and successor [are] one and the same and

   [the] the predecessor continues to exist as part of the successor”) (internal quotation marks

   omitted); Societe Generale v. Fla. Health Scis. Ctr., Inc., No. 03 CIV. 5615 (MGC), 2003 WL

   22852656, at *4 (S.D.N.Y. Dec. 1, 2003) (“Courts have held that a successor may inherit its

   predecessor’s jurisdictional status in several situations: for example, if there was a de facto merger

   or consolidation of the two entities or if the successor is a ‘mere continuation’ of the predecessor.”).

           SGBL’s alleged purchase of LCB was an asset purchase rather than a merger or mere

   continuation of LCB. Plaintiffs do not allege continuity of ownership—i.e., that “the shareholders

   of the predecessor corporation bec[a]me direct or indirect shareholders of the successor

   corporation as the result of the successor’s purchase of the predecessor’s assets,” Asbestos Litig.,

   789 N.Y.S.2d at 486–87 (citing Cargo Partner AG v. Albatrans, Inc., 352 F.3d 41, 47 (2d Cir.

   2003)). (See Am. Compl. ¶¶ 1448–1464; see generally Opp’n). The Amended Complaint

   specifically refers to the sale as an acquisition of assets and liabilities—not as a merger. (Am.

   Compl. ¶¶ 140, 5684). Even if SGBL obtained all of LCB’s liabilities, that does not necessarily

   confer jurisdiction. See U.S. Bank, 916 F. 3d at 157; New York, 460 F.3d at 212. Indeed, LCB

   continues to exist as an entity and is litigating in the Kaplan case currently before the Second

   Circuit. See No. 19-3522 (2d Cir); cf. Douglas v. Stamco, 363 F. App’x 100, 102 (2d Cir. 2010)

   (“[T]he predecessor entity . . . survived the asset sale as a bankrupt entity, which renders the mere

   continuation exception unavailable.” (citing Wensing v. Paris Indus.—N.Y., 558 N.Y.S.2d 692

   (N.Y. App. Div. 1990)). Because SGBL purchased LCB’s assets for cash as the result of a bidding



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   process and did not merge with or otherwise “merely continue” LCB’s ownership, SGBL did not

   inherit LCB’s jurisdictional status in this forum. (Id. ¶¶ 1448, 1463.)

            Accordingly, Plaintiffs fail to establish successor-inherited personal jurisdiction over

   SGBL with respect to Claim IV.

            B. Jurisdiction Based on SGBL’s New York Contacts

            Plaintiffs also contend that SGBL is subject to personal jurisdiction for successor liability

   because “SGBL itself had relevant in-forum conduct.” (Opp’n at 75 (emphasis in original).)

   Specifically, “SGBL maintained New York correspondent accounts, which it used to process

   USD-denominated transactions on behalf of Hezbollah’s BAC.” 19 (Id. (citations omitted).)

            Personal jurisdiction requires a “connection between the forum and the specific claims at

   issue.” Bristol-Myers Squibb Co. v. Superior Court of California, San Francisco Cty., 137 S. Ct.

   1773, 1776 (2017). Plaintiffs fail to allege any such connection between SGBL’s New York

   contacts and LCB’s liability.            In Licci, exercising personal jurisdiction in New York was

   appropriate because “the correspondent account at issue is alleged to have been used as an

   instrument to achieve the very wrong alleged.” 732 F.3d at 171 (emphasis added). Here, the

   wrongs alleged are “the acts of LCB.” (Am Compl. ¶ 5694.) None of Plaintiffs’ allegations

   explain how LCB’s conduct “arose from” SGBL’s New York contacts, as is required. Licci, 732

   F.3d at 171. While the “arising from” inquiry is a permissive one, it requires at least some

   connection between the contacts and liability. Id. 169. But Plaintiffs fail to plausibly allege that

   LCB’s tortious conduct arose from SGBL’s New York contacts. Accordingly, SGBL’s own New

   York contacts do not confer personal jurisdiction over the successor liability claim.



            19
               SGBL argues that the Sale and Purchase Agreement between SGBL and LCB in Lebanon fails to confer
   personal jurisdiction in New York. Plaintiffs do not appear to dispute this point, other than to rely upon that Agreement
   to argue for successor-based jurisdiction.

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                                              *       *        *

          Plaintiffs fail to allege a prima facie case of personal jurisdiction over SGBL for Claim IV,

   successor liability, either through successor-inherited jurisdiction or through SGBL’s own New

   York contacts. Accordingly, Plaintiffs’ claims regarding SGBL’s assumption of LCB’s liabilities

   are dismissed.

                                              CONCLUSION

          For the foregoing reasons, Defendants’ motions to dismiss the Amended Complaint are

   granted as to Plaintiffs’ First and Fourth Claims for Relief. The motions are denied as to Plaintiffs’

   Second and Third Claims for Relief under 18 U.S.C. § 2333(d).

          Lastly, I note that today’s opinion discusses several ATA/JASTA cases whose appeals are

   currently pending before the Second Circuit. See supra n.15. The Second Circuit has heard oral

   argument in two of those appeals—Weiss and Kaplan—with Honickman and Freeman scheduled

   for argument in December and February, respectively. Mindful of these pending appeals, the

   district court in Henkin recently certified the following question for interlocutory appeal after

   denying the motion to dismiss in that case:

                    Under the ATA/JASTA, what amount and type of media coverage,
                    governmental pronouncements, and other publicly available
                    information – if any – is sufficient circumstantial evidence for a
                    plaintiff to plead a plausible claim that a financial institution was
                    aware that, by providing financial services to a client, it was thereby
                    playing a role in violent or life-endangering activities as an aider and
                    abettor?

   No. 19-cv-5394, D.E. # 36 (E.D.N.Y. Nov. 13, 2020). I recognize that the issues in this case are

   highly contested and that the Second Circuit’s decisions in the pending appeals may largely resolve

   those issues. For these reasons, today’s decision is without prejudice to any party filing an

   application to stay these proceedings for a limited period, in light of the possibility that the Second



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   Circuit’s decisions in the pending appeals could resolve certain issues in this case. If such a motion

   is made, I will of course consider any opposition to it.



   SO ORDERED.

   Dated: November 25, 2020
          Brooklyn, New York                             /s/ Carol Bagley Amon
                                                         ____________________________
                                                         Carol Bagley Amon
                                                         United States District Judge




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